AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                  Southern District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________

                     KRISTINE BAKER,                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                        Civil Action No. 7:23-cv-01626-KMK
                                                                     )
               RALDINO POWELL, R.N.,                                 )
            DR. ELLEN GOMPRECHT, M.D.,
                                                                     )
               SUPERINTENDENT AMY
                     LAMANNA                                         )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Amy Lamanna
                                       c/o Deputy Counsel Mark Richter
                                       Counsels Office
                                       New York State Department of
                                       Corrections and Community Supervision
                                       The Harriman State Campus, Building 4,
                                       1220 Washington Avenue, Albany, NY 12226

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Amiad Kushner
                                       Robert Seiden
                                       Priya Lehal
                                       Seiden Law LLP
                                       322 Eighth Ave., Suite 1704
                                       New York, NY 10001

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:             05/02/2023                                                                  /s/ J. Gonzalez
                                                                                       Signature of Clerk or Deputy Clerk
